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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


JIM DAWS TRUCKING, LLC,


                      Plaintiff,                                     4:24CV3177


      vs.
                                                                       ORDER
DAWS, INC., JAMES R. DAWS, LANA R.
DAWS, DAWS TRUCKING, INC., and
COLUMBUS TRANSPORTATION &
LOGISTICS, LLC,


                      Defendants.



 1.    The above-captioned case is set for a preliminary injunction hearing before the
       undersigned judge in Courtroom 1 Robert V. Denney Federal Building, 100 Centennial
       Mall North, Lincoln, Nebraska, commencing at 9:00 a.m. on Wednesday, February 26,
       2025, for a duration of 3 days.

 2.    No later than 12:00 p.m. on February 24, 2025, the parties must file all exhibits and
       affidavits or declarations on which the parties intend to rely, along with an exhibit list
       referencing the exhibits and corresponding filing number that will be offered at the
       hearing in this matter. Those exhibits and affidavits previously properly authenticated
       and filed in support of the briefing on the motion for temporary restraining order need
       not be filed again.

      IT IS SO ORDERED.
      Dated this 21st day of February, 2025.


                                                     BY THE COURT:


                                                     Susan M. Bazis
                                                     United States District Judge
